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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                OXFORD DIVISION
EQUAL EMPLOYMENT OPPORTUNITY                                                       PLAINTIFF
COMMISSION

v.                                                           CASE NO.: 3:20-cv-270-NBB-RP

USF HOLLAND, LLC                                                  DEFENDANT
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                       ORDER EXTENDING DEADLINES
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       Before the Court is the Parties’ Joint Motion to Extend CMO Deadlines. (ECF No. 75.)

The CMO set a deadline of April 14, 2022, for Plaintiff to file any amended complaint to identify

additional class members and for certain putative class and Hervery discovery by both parties.

(See CMO, ECF No. 45, PageID 159.) The Parties require additional time to complete written

discovery and depositions in advance of this deadline. Accordingly, for good cause shown, the

Court finds that the requested extension is appropriate and should be GRANTED. The CMO’s

deadline of April 14, 2022, is hereby extended to July 22, 2022. The Telephonic Status Conference

and Settlement Conference set forth in the CMO (see also ECF Nos. 46 & 47) are cancelled and

will be reset by separate order.

       IT IS SO ORDERED, this, the 14th day of April, 2022.



                                                    _/s/ Roy Percy________________________
                                                    UNITED STATES MAGISTRATE JUDGE
